               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


MAXWELL KADEL, et al.,

                          Plaintiffs,

                     v.                      Case No. 1:19-cv-00272-LCB-LPA

DALE FOLWELL, in his official capacity as
State Treasurer of North Carolina, et al.,

                          Defendants.


  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
      EXCLUDE EXPERT TESTIMONY OF DR. PAUL R. McHUGH




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       Plaintiffs respectfully submit this memorandum of law in support of their motion to

exclude the expert testimony of Dr. Paul R. McHugh.1

                     STATEMENT OF THE CASE AND FACTS

       Plaintiffs are current or former participants in the North Carolina State Health Plan

for Teachers and State Employees (the “Health Plan”). North Carolina provides health

coverage to its employees and their dependents through the Health Plan. The Plan denies

coverage for the gender-affirming care that transgender people require because it contains

sweeping exclusions of such care but covers the same kinds of treatments for cisgender

employees who require them for other reasons. Defendants thus deny equal treatment to

Plaintiffs because they are transgender.

                                   INTRODUCTION

       For 50 years, Dr. Paul R. McHugh has opposed the provision of gender-affirming

care for transgender patients, because in his view they have a “disorder of assumption.”

Dr. McHugh opposes this care despite not having any direct experience providing care to

transgender individuals or having conducted any original research or study on these issues.

In fact, his longstanding opposition has remained immovable – “flat-footed,” in his words

– notwithstanding any new research published in the past half century. Nonetheless, the

Plan Defendants attempt to proffer Dr. McHugh as an expert.




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   Unless otherwise specified, all exhibits cited herein are attached to the
contemporaneously filed Declaration of Omar Gonzalez-Pagan.

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       But Dr. McHugh is unqualified to serve as an expert in this case and his opinions

should be excluded as irrelevant and/or unreliable under Rule 702 and Daubert v. Merrell

Dow Pharm., Inc., 509 U.S. 579 (1993), and its progeny. Dr. McHugh’s views were

formed 50 years ago despite his lack of direct experience and original study in these matters

and have remained impervious to scientific development and scholarship since then. His

opinions are also inadmissible under Rule 403 because any probative value they may have

(and they have none) is substantially outweighed by the danger of unfair prejudice and

confusion of the issues they would cause.

                                  LEGAL STANDARD

       Federal Rule of Evidence 702 places “a special gatekeeping obligation” on a trial

court, Nease v. Ford Motor Co., 848 F.3d 219, 230 (4th Cir. 2017), to ensure that an

expert’s testimony “both rests on a reliable foundation and is relevant to the task at hand.”

Daubert, 509 U.S. at 597; see also Sardis v. Overhead Door Corp., 10 F.4th 268, 281 (4th

Cir. 2021). And “the importance of the gatekeeping function cannot be overstated.”

Sardis, 10 F.4th at 283 (cleaned up).

       “Where the admissibility of expert testimony is specifically questioned, Rule 702

and Daubert require that the district court make explicit findings, whether by written

opinion or orally on the record, as to the challenged preconditions to admissibility.” Id.

“The proponent of the testimony must establish its admissibility by a preponderance of

proof.” Mod. Auto. Network, LLC v. E. All. Ins. Co., 416 F.Supp.3d 529, 537 (M.D.N.C.

2019) (quotation omitted), aff’d, 842 F.App’x 847 (4th Cir. 2021).



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       First, the court must determine whether the proposed expert is even qualified to

render the proffered opinion, which requires examining the expert’s professional

qualifications and “full range of experience and training.” Belk, Inc. v. Meyer Corp., U.S.,

679 F.3d 146, 162 (4th Cir. 2012). If the purported expert is not qualified, the court should

exclude the testimony. See SMD Software, Inc. v. EMove, Inc., 945 F.Supp.2d 628, 639

(E.D.N.C. 2013).

       Second, even if the expert is qualified, the court must consider the relevancy of the

expert’s testimony as it is “a precondition to admissibility.” Sardis, 10 F.4th at 282. To be

relevant, the testimony must have “a valid scientific connection to the pertinent inquiry.”

Id. at 281. “[I]f an opinion is not relevant to a fact at issue, Daubert requires that it be

excluded.” Id.

       Third, the court must inquire if the opinion is based on a reliable foundation,

focusing on “the principles and methodology” employed by the expert to assess whether it

is “based on scientific, technical, or other specialized knowledge and not on belief or

speculation.” Id. at 281-82. In evaluating reliability, courts consider, among other things,

whether: (1) the theory “can be and has been tested”; (2) has been “subjected to peer review

and publication”; (3) “the known or potential rate of error”; and (4) “whether the technique

is generally accepted in the scientific community.” Id. at 281; see also Kumho Tire Co.,

Ltd. v. Carmichael, 526 U.S. 137, 149-150 (1999). These factors are “neither definitive,

nor exhaustive.” Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199–200 (4th Cir. 2001)

(citation omitted).



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       When an expert relies upon his experience and training, and not a specific

methodology, the application of the Daubert factors is more limited. See Freeman v. Case

Corp., 118 F.3d 1011, 1016 n.6 (4th Cir. 1997). In such cases, courts consider: “1) how

the expert’s experience leads to the conclusion reached; 2) why that experience is a

sufficient basis for the opinion; and 3) how that experience is reliably applied to the facts

of the case.” SAS Inst., Inc. v. World Programming Ltd., 125 F.Supp.3d 579, 589 (E.D.N.C.

2015); see also Nat’l Ass’n for Rational Sexual Offense Laws v. Stein, No. 1:17CV53, 2021

WL 736375, at *3 (M.D.N.C. Feb. 25, 2021).

       Finally, the Fourth Circuit has cautioned that although the trial court has “broad

latitude” to determine reliability, it must still engage in the gatekeeping process and not

simply “delegate the issue to the jury.” Sardis, 10 F.4th at 281. Even rigorous cross-

examination is not a substitute for the court’s gatekeeping role. See Nease v. Ford Motor

Co., 848 F.3d 219, 231 (4th Cir. 2017).

                                      ARGUMENT

I.     Dr. McHugh is not qualified to offer an expert opinion in this case.

       An expert witness must possess the requisite “knowledge, skill, experience, training,

or education” that would assist the trier of fact. Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir.

1993); Wright v. United States, 280 F.Supp.2d 472, 478 (M.D.N.C. 2003). If not qualified,

the expert’s testimony is unreliable. Reliastar Life Ins. Co. v. Laschkewitsch, No. 5:13-

CV-210-BO, 2014 WL 1430729, at *1 (E.D.N.C. Apr. 14, 2014).




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       However, “qualifications alone do not suffice.” Clark v. Takata Corp., 192 F.3d

750, 759 n.5 (7th Cir. 1999); see also Patel ex rel. Patel v. Menard, Inc., No. 1:09-CV-

0360-TWP-DML, 2011 WL 4738339, at *1 (S.D. Ind. Oct. 6, 2011). Even “[a] supremely

qualified expert cannot waltz into the courtroom and render opinions unless those opinions

are based upon some recognized scientific method and are reliable and relevant under …

Daubert.” Clark, 192 F.3d at 759 n.5. To the contrary, “an expert’s qualifications must

be within the same technical area as the subject matter of the expert’s testimony; in other

words, a person with expertise may only testify as to matters within that person’s

expertise.” Martinez v. Sakurai Graphic Sys. Corp., No. 04 C 1274, 2007 WL 2570362, at

*2 (N.D. Ill. Aug. 30, 2007); see also Lebron v. Sec. of Fla. Dept. of Children and Families,

772 F.3d 1352, 1369 (11th Cir. 2014).

       Despite his decades of experience in the field of psychiatry, Dr. McHugh is not

qualified to render expert opinions on any of the issues at hand because he has no direct,

particular, or specialized experience regarding gender dysphoria, its treatment, or

transgender people more generally. Dr. McHugh’s opinions are a perfect example of the

circumstance where a party’s proposed expert only provides “generalized knowledge” that

risks creating more confusion rather than aiding a trier of fact. But, as we know,

“[g]eneralized knowledge of a particular subject will not necessarily enable an expert to

testify as to a specific subset of the general field of the expert’s knowledge.” Martinez,

2007 WL 2570362, at *2. “For example, no medical doctor is automatically an expert in

every medical issue merely because he or she has graduated from medical school or has



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achieved certification in a medical specialty.” O’Conner v. Commonwealth Edison Co.,

807 F.Supp. 1376, 1390 (C.D. Ill. 1992), aff’d, 13 F.3d 1090 (7th Cir. 1994); see also, e.g.,

Hartke v. McKelway, 526 F.Supp. 97, 100-101 (D.D.C. 1981). Such is the case here.

       Dr. McHugh formed the opinions he espouses today nearly 50 years ago, without

conducting any independent research at the time. Ex. A at 147:21-138:3. But those

opinions are not based on any direct experience with transgender patients or people living

with gender dysphoria, or any independent research that he has conducted he has conducted

since then. The opposite. Dr. McHugh admits that he has not directly treated any

transgender patients with gender dysphoria, Ex. A at 36:7-38:5, 39:1-10, 62:4-10, nor has

he overseen any clinic providing hormonal or surgical care for transgender patients, id. at

58:17-59:5. He also has not conducted any original or peer-reviewed research about gender

identity, transgender people, or gender dysphoria. Ex. A at 27:20-28:2, 30:7-31:9, 147:21-

148:3; see also United States v. Jacques, 784 F.Supp.2d 59, 62 (D. Mass. 2011).

       The extent of Dr. McHugh’s direct, personal experience in his more than 50 years

in the field of psychiatry is that he has briefly consulted, but not provided care, with 30-35

transgender persons or their families. Ex. A at 28:12-14, 30:3-6. Curiously, though,

whenever he has referred one of those 30-35 persons or their families for actual care, Dr.

McHugh has referred them to only one psychiatrist—Dr. Fred Berlin. Id. at 38:6-21. Dr.

Berlin, however, works in Johns Hopkins’s Sex and Gender Clinic, which partners with

the Johns Hopkins Center for Transgender Health to provide gender-affirming care

consistent with the standards of care set by the World Professional Association for



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Transgender Health (WPATH), id. at 124:17-125:13; Ex. B at 261:2-262:6, and therefore

provides care at odds with Dr. McHugh’s outlier views.

       And even though he purportedly calls for additional research on the effectiveness of

gender-affirming treatment for gender dysphoria, it appears such calls are a pretense for

Dr. McHugh’s uninformed opposition to such care. Dr. McHugh has been aware of the

provision of gender-affirming care since the 1970’s, when he made up his mind to oppose

this care but has yet to conduct a single study in the last 50 years. Ex. A at 155:6-10. As

he testified, he joined Johns Hopkins with the “intention when [he] arrived in Baltimore in

1975 to help end” the provision of such care. Id. at 145:6-16.

       Dr. McHugh has also not published any scientific, peer-reviewed literature on

gender dysphoria or transgender people. Ex. A at 33:15-34:11. The one publication he has

in a science journal that touches on this subject is not a scientific study but rather an opinion

essay. Id. at 31:18-33:14; see also Ex. D.2 But opinion pieces are not science. And a

commentary piece from more than 25 years ago is not the type of creditable scientific

literature that should inform an expert’s opinions and testimony. More relevant, however,

is whether Dr. McHugh’s views have been peer-reviewed, vetted, and accepted in recent

times. When asked if he had “sought to have his views regarding this matter, in the last

few years, published in a peer-reviewed journal,” Dr. McHugh testified he had asked the




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 Commentary pieces in Nature Medicine are not necessarily peer reviewed. See Content
Types, Nature Medicine, https://www.nature.com/nm/content (last visited Nov. 24, 2021).

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New England Journal of Medicine if he could write something on these issues for them,

but that the New England Journal of Medicine declined. Ex. B at 282:25-283:8.

       Instead, Dr. McHugh bases his opinions solely on his review of literature and the

few conversations he has had with people with whom he has provided limited consultations

but not provided care. Ex. A at 28:3-11, 30:7-20.

       Dr. McHugh testified: “I have not published an actual study. Right. I’ve reviewed

studies, but I haven’t made a study of my own, no.” Ex. B. at 280:24-281:3. But the fact

that Dr. McHugh has read about gender dysphoria and transgender people does not qualify

him as an expert on these issues. “Expertise is not acquired through osmosis or accretion.”

Veryzer v. Sec’y of Health & Hum. Servs., No. 06-0522V, 2010 WL 2507791, at *26 (Fed.

Cl. June 15, 2010). That is precisely the sort of “generalized knowledge of a particular

subject” that courts have rejected as a qualification under Rule 702.         As with the

disqualified expert in Lebron who “reached his opinion instead by relying on studies,” it is

simply not a sufficient qualification to serve as an expert witness. 772 F.3d at 1369.

       The same holds true for the limited consultations he has had with people he has not

provided any care. Dr. McHugh cannot speak of long-term effects of gender-confirming

care when the few people he has consulted with received no care from him, let alone “long-

term” care. Ex. A at 28:19-29:4, 36:21-37:9.

       In sum, Dr. McHugh has no foundation of knowledge, skill, or experience necessary

to serve as an expert on the diagnosis of gender dysphoria or the treatment paradigms for

gender dysphoria. The fact that Dr. McHugh may be “an intelligent man,” who is “well



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read in the area,” “has written a bit on the general topic,” and “holds an opinion on the

topic,” “is not enough” to make him an expert on gender dysphoria and its treatment.

Jacques, 784 F.Supp.2d at 62. Dr. McHugh’s “degree of specialized knowledge is simply

too thin to give his testimony the foundation needed to permit a [factfinder] to consider it.”

Id. Dr. McHugh is “not qualified by background, training, or expertise to opine” about any

of the factual issues presented by this case, let alone the effects and propriety of a policy

excluding coverage of medically necessary gender-confirming treatment for gender

dysphoria. Lebron, 772 F.3d at 1369.

II.    Dr. McHugh’s opinions and testimony are not relevant to this case.

       The “court must satisfy itself that the proffered testimony is relevant to the issue at

hand, for that is a precondition to admissibility.” Sardis, 10 F.4th at 282 (cleaned up). “[I]t

is axiomatic that expert testimony which does not relate to any issue in the case is not

relevant and non-helpful.” Knight v. Boehringer Ingelheim Pharms., Inc., 323 F.Supp.3d

837, 846 (S.D.W. Va. 2018) (cleaned up). In order to be relevant, an opinion needs to “fit”

with the facts at issue. Bourne v. E.I. DuPont de Nemours & Co., 85 F.App’x 964, 966

(4th Cir. 2004). “The test for relevance, or fit, considers whether expert testimony proffered

in the case is sufficiently tied to the facts of the case that it will aid the jury in resolving a

factual dispute.” Viva Healthcare Packaging USA Inc. v. CTL Packaging USA Inc., 197

F.Supp.3d 837, 846 (W.D.N.C. 2016) (cleaned up).




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       Dr. McHugh’s opinions are not relevant to the issues in this case as they will not

help the “trier of fact to understand the evidence or to determine a fact in issue.” Nease,

848 F.3d at 229. Simply put, his opinions do not “fit” the facts at issue.

       A. Dr. McHugh’s opinions about “desistance” are irrelevant.

       Take for example Dr. McHugh’s opinions about purported “desistance” rates as a

reason to question the provision of gender-confirming care. Dr. McHugh builds his

ultimate opinion that “transgender patients should [] be encouraged to align their identity

and presentation with the sex they were determined at birth,” Ex. A at 201:18-202:12, upon

the premise that “the evidence right now is to say if somebody says … their sex of opinion

and the sex of their body are discordant -- discordant, they change and become concordant

in 80 to 90 percent of the cases if they’re allowed to go through puberty.” Id. at 197:15-

21. But not only are such opinions based on faulty propositions, they simply do not fit

within the facts of this case.

       For example, Dr. McHugh’s opinion is based on antiquated studies showing that a

majority of prepubertal children diagnosed with gender identity disorder—an outmoded

diagnosis distinct from gender dysphoria with different diagnostic criteria—desisted from

their gender nonconformity or cross-gender behavior. But the desistance studies to which

he refers speak only to prepubertal youth who were diagnosed with gender identity disorder

under prior versions of the American Psychiatric Association’s Diagnostic and Statistical

Manual of Mental Disorders (“DSM”), and do not pertain to desistance in prepubertal

youth diagnosed with gender dysphoria under the DSM-5. Ex. A at 196:12-20. A



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distinction he does not understand (which further calls into question his purported expertise

on the subject). Id. And in any event, the studies pertain to desistance among prepubertal

children and not adolescents or adults. Id. at 194:3-11. But no hormonal or surgical care

– i.e., the care at issue here – is recommended for or provided to prepubertal children, nor

are any of the plaintiffs prepubertal children. Ex. B at 288:2-17.

         Dr. McHugh’s opinions regarding desistance are thus completely irrelevant.

         B. Dr. McHugh’s opinions regarding the validity and reliability of the DSM are
            irrelevant.

         Dr. McHugh’s opinions about the validity and reliability of the DSM, see infra, are

also irrelevant. Dr. McHugh’s opinions about the DSM are based on “a broader critique

… in almost what its purpose is, that rather than serve as a guide to come up with a

diagnosis based on observable phenomena or criteria, it should be more explanatory as to

the nature and cause of a particular condition.” Ex. A at 107:11-108:8. Dr. McHugh’s

critique is not based on the DSM’s reliability to make diagnoses, i.e., to ascertain whether

someone presenting with particular symptoms suffers from a particular condition. Id. at

99:3-100:16.

         In any event, Dr. McHugh acknowledges that the World Health Organization’s

Internal Classification of Diseases (ICD) is a true classification system. Ex. A at 97:1-6.

And the ICD defines gender incongruence as “a marked and persistent incongruence

between the gender felt or experienced and the gender assigned at birth.” Id. at 104:5-16;

Ex. E.




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        C. Dr. McHugh’s musings about the causes of gender dysphoria are irrelevant.

        Dr. McHugh opines, without any evidence, that gender dysphoria may be caused by

social contagion and social pressure. Ex. C at 13. While those hypotheses are completely

unsupported, whether gender dysphoria is caused by social contagion or social pressure is

irrelevant to the case at hand. It is undisputed that there are people that experience gender

dysphoria, which necessitates medical treatment. Ex. A at 73:15-75:15, 203:14-204:14;

see also Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 594–95 (4th Cir. 2020).

                                      *      *       *

        The opinions expressed by Dr. McHugh are insufficiently tied to the facts of this

case and should be excluded as irrelevant.

III.    Dr. McHugh’s opinions and testimony are unreliable.

        An expert’s testimony should only be admitted if it is sufficiently reliable. And

“proffered evidence that has a greater potential to mislead than to enlighten should be

excluded.” In re Lipitor (Atorvastatin Calcium) Mktg., Sales Pracs. & Prod. Liab. Litig.

(No II) MDL 2502, 892 F.3d 624, 632 (4th Cir. 2018). Here, Dr. McHugh’s opinions fail

all indicia of reliability. Dr. McHugh’s proffered opinions are based on nothing more than

rank speculation, “untested” theories, uncorroborated anecdotes, and assumptions that are

obsolete, flawed, unethical, and expressed opinions based upon “unsettled science.” What

is more, some of his opinions are patently false.




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       A. Dr. McHugh’s opinion encouraging reparative therapy is unreliable, widely
          rejected, unethical, and misleading.

       The foundation of Dr. McHugh’s opinions is that, according to him, transgender

people are “disordered” because they suffer from a “disorder of assumption” or

“overvalued idea.” Ex. A at 129:5-12; Ex. B at 288:18-22. As such, Dr. McHugh’s opinion

is that transgender people with gender dysphoria be treated through therapy wherein they

are led “to move from an idea that is unreal to the reality world that they need to live in

and they should live in,” by which he means that they should be coerced to live and identify

according to “their natal sex.” Ex. A at 204:20-206:5, 201:18-202:7. But such opinion is

unreliable, widely rejected, and unethical.

       Dr. McHugh cites to no study in support of this proposition, instead, “relying on,

primarily, common sense.” Ex. B at 305:17-21. In fact, from Dr. McHugh’s point of view,

it “is [his] opinion,” and the burden of proof is on everyone else to change his opinion. Id.

at 305:22-306:10. But that is not how it works in court, where a proposed expert’s “ipse

dixit … cannot satisfy Rule 702.” Sardis, 10 F.4th at 289. Nor does Dr. McHugh’s appeal

to untestable “common sense” satisfy Rule 702’s reliability requirement. See Fedor v.

Freightliner, Inc., 193 F.Supp.2d 820, 832 (E.D. Pa. 2002) (“Generalized common sense

does not rise to the level of expert opinion solely because it is offered by someone with an

academic pedigree.”).

       But “[f]or many years, mental health practitioners attempted to convert transgender

people’s gender identity to conform with their sex assigned at birth, which did not alleviate

dysphoria, but rather caused shame and psychological pain.” Grimm, 972 F.3d at 595. As


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such, the American Psychological Association opposes gender identity change efforts

because “scientific evidence and clinical experience indicate that [these efforts] put

individuals at significant risk of harm” and “have not been shown to alleviate or resolve

gender dysphoria.” Ex. F; see also Ex. A at 210:19-213:21. So does the American

Psychiatric Association. Id. at 206:6-20.

       As a result, gender identity change efforts are considered to be unethical, and have

been widely rejected by the medical and scientific community. Ex. A at 214:1-14; Ex. G

at 12-16; see also King v. Governor of the State of New Jersey, 767 F.3d 216, 221–22 (3d

Cir. 2014); Pickup v. Brown, 740 F.3d 1208, 1223–24 (9th Cir. 2014).

       B. Dr. McHugh’s views are at odds with the relevant scientific and medical
          communities.

       General acceptance in the relevant scientific community is an important element to

the reliability inquiry. Nease, 848 F.3d at 229. Not only is widespread acceptance an

important factor in assessing the reliability of an expert’s opinions, but the fact that a known

theory “has been able to attract only minimal support within the community may properly

be viewed with skepticism.” Daubert, 509 U.S. at 594. Here, Dr. McHugh’s opinions

about the effectiveness and propriety of gender-affirming care are way outside the

mainstream of medical and scientific opinion and have been explicitly rejected by the

relevant scientific and medical communities.

       Dr. McHugh opines that gender-affirming “treatments – hormones and surgery – for

gender dysphoria and ‘transitioning’ remain unproven and have thus not been accepted by

the relevant scientific communities.” Ex. C at 14. Not true. It is the official, consensus,


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evidence-based position of the National Academies of Science, Engineering, and Medicine

that, “[a] major success of these guidelines has been identifying evidence and establishing

expert consensus that gender-affirming care is medically necessary and, further, that

withholding this care is not a neutral option.” Ex. G at 12-10.3 Indeed, “[a] number of

professional medical organizations have joined WPATH in recognizing that gender

affirming care is medically necessary for transgender people.” Id. This includes, among

others, the American Medical Association, American Psychiatric Association, American

Psychological Association, American Academy of Family Physicians, American Academy

of Pediatrics, American College of Obstetricians and Gynecologists, the Endocrine

Society, the Pediatric Endocrine Society, and Dr. McHugh’s own employer, Johns Hopkins

University. Ex. B at 247:22-263:14.

       Binding and recent circuit precedent recognizes the provision of gender-confirming

care, consistent with the WPATH Standards of Care, to “represent the consensus approach

of the medical and mental health community,” and to “have been recognized by various

courts, including [the Fourth Circuit], as the authoritative standards of care.” Grimm, 972

F.3d at 595. In fact, “[t]here are no other competing, evidence-based standards that are

accepted by any nationally or internationally recognized medical professional groups.” Id.

at 595-596.




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  Exhibit G, a report of the National Academies, is self-authenticating as a publication
issued by a public authority, Fed. R. Evid. 902(5), and is appropriate for judicial notice,
United States v. Doe, 962 F.3d 139, 147 n.6 (4th Cir. 2020).


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       Just this year, another federal district court found as much when it enjoined

Arkansas’ state law seeking to ban gender-confirming treatment for minors. See Brandt v.

Rutledge, No. 4:21-CV-00450-JM, 2021 WL 3292057 (E.D. Ark. Aug. 2, 2021). In doing

so, the court explicitly found that: (a) “Gender-affirming treatment is supported by medical

evidence that has been subject to rigorous study;” and (b) “Every major expert medical

association recognizes that gender-affirming care for transgender minors may be medically

appropriate and necessary to improve the physical and mental health of transgender

people.” Id. at *4 (emphasis added).

       On the other hand, Dr. McHugh’s view that affirming a transgender person’s

identity is “affirming the patient’s misdirection,” Ex. A at 64:19-65:6, has been soundly

rejected by medical and scientific community.

       Lastly, aside from the fact that his opinion is wildly at odds with that of the relevant

medical and scientific communities, the fact that Dr. McHugh omitted key information

from his report undermines his reliability and illustrates that his opinions are more likely

to mislead than to enlighten. Dr. McHugh was aware that the positions taken by most

major medical organizations and his own employer were contrary to his own but failed to

disclose or account for that information in his report just because he disagreed with them.

Ex. B at 257:6-17. While the factual basis of an expert opinion usually goes to credibility,

“it is possible for an experts’ omission of articles to render his or her opinion inadmissible

on reliability grounds.” Huggins v. Stryker Corp., 932 F.Supp.2d 972, 994 (D. Minn.

2013). Such is the case here where Dr. McHugh omits key information, or worse,



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misrepresents facts that if properly disclosed would contradict his opinions. In such

circumstances, the “potential to mislead” rather “than to enlighten” is too great. In re

Lipitor, 892 F.3d at 632.

       C. Dr. McHugh’s opinions are based on speculation and untested theories.

       Dr. McHugh’s opinions are based on speculation and untested theories; theories that

neither he nor others have tested or studied. For example, several of Dr. McHugh’s

opinions are based on “unknown number[s]” of patients with gender dysphoria purportedly

(a) suffering from other conditions distorting their judgment or (b) being “heavily

influenced and/or manipulated by a source of social contagion.” Ex. C at 13. But Dr.

McHugh was unable to identify a single scientific, peer-reviewed source as to the former,

Ex. B at 293:22-295:8, and only identified one source that proposed the latter merely as a

hypothesis, id. at 298:15-300:5.4 As such, “there is simply too great an analytical gap

between the data and the opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146

(1997).

       “While hypothesis is essential in the scientific community because it leads to

advances in science, speculation in the courtroom cannot aid the fact finder in making a

determination.” Dunn v. Sandoz Pharms. Corp., 275 F.Supp.2d 672, 684 (M.D.N.C. 2003).

Indeed, such “speculation is unreliable evidence and is inadmissible.” Id.; see also Sardis,

10 F.4th at 291.



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 The only study to have looked at this hypothesis found no support for the hypothesis. Ex.
H.

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      In sum, Dr. McHugh’s opinions based on “unsupported speculation” should be

rejected. Daubert 509 U.S. at 589-590.

      D. Dr. McHugh’s opinions regarding care in other countries are unreliable.

      In support for his opinions, Dr. McHugh refers to purported “national research

reviews in England, Sweden, and Finland.” Ex. C at 10. But it is hard to ascertain the

reliability, if any, of these purported national reviews. For one, Dr. McHugh provides no

citations to any these purported reviews in his report. For another, Dr. McHugh does not

know if the “national reviews” in England and Finland were peer-reviewed or published in

scientific journal. See, e.g., Ex. B at 300:19-301:10 (England), 302:20-303:8 (Finland).

He also confused a scientific study by some researchers in Sweden for a “national review,”

a distinction he acknowledged at his deposition. Id. at 301:12-20 (confusing the Dhejne,

et al. 2011 study with Swedish national review).5

      In addition, Dr. McHugh acknowledged he did not disclose that each of the countries

to which he refers have nationalized healthcare systems that provide and cover gender-

confirming medical treatment for adolescents and adults with gender dysphoria. Id. at

304:10-305:7.




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  In any event, Dr. McHugh misrepresents the Dhejne, et al. study which only shows that
post-operative transgender patients have higher rates of suicidality when compared to the
population at large. Ex. A 157:10-160:16, 163:6-164:15; see also Doc. 181-1 (Ex. 25(a) at
¶ 83 (Ettner); Ex. 26(a) at ¶ 81 (Olson-Kennedy); Ex. 24(b) at ¶ 28 (Schechter Rebuttal)).

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       E. Dr. McHugh’s opinions regarding the reliability of the DSM are unreliable and
          misleading.

       Dr. McHugh criticizes the reliability and validity of the DSM to make diagnoses,

which consequently fuels his opinions regarding gender dysphoria. But not only are these

opinions irrelevant (see above), they are also unreliable.

       Courts have routinely recognized the DSM as a reliable and widely accepted

authority on mental disorder diagnoses. See United States v. Wooden, 693 F.3d 440, 452

n.4 (4th Cir. 2012) (“The DSM is widely recognized as the authoritative reference used in

diagnosing mental disorders.” (cleaned up)); see also Acevedo Granados v. Garland, 992

F.3d 755, 760 n.1 (9th Cir. 2021); Kim v. Hartford Life Ins. Co., 748 F.App’x 371, 374 (2d

Cir. 2018); Rasho v. Elyea, 856 F.3d 469, 472 (7th Cir. 2017); Young v. Murphy, 615 F.3d

59, 61 (1st Cir. 2010); Vanieken-Ryals v. Off. of Pers. Mgmt., 508 F.3d 1034, 1037 (Fed.

Cir. 2007).

       In addition, Dr. McHugh criticizes the DSM as “not based on evidence-seeking

scientific methodologies,” Ex. A at 105:2-6, even though he acknowledges that the revision

of the DSM involves research evaluation, publication of whitepapers, peer-reviewed

articles, and scientific conferences, id. at 105:16-106:18, something he did not disclose.

Yet, at his deposition, Dr. McHugh acknowledged the “DSM does use scientific

information to encourage its own reliability studies.” Id. at 107:3-5.

       Dr. McHugh refers to the decision of the National Institute of Mental Health

(NIMH) to “reorient[] its research away from DSM categories” as support for his view of

the DSM as “insufficiently reliable.” Ex. C at 8. However, Dr. McHugh failed to disclose


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that this was done as part of the NIMH’s Research Domain Criteria project’s “long-term

goal to understand mental illness as disorders of brain structure and function,” and that the

NIMH considers the DSM, along with the ICD, to “represent[] the best information

currently available for clinical diagnosis of mental disorders” and “that the DSM is the key

resource for delivering the best available care” as well as “the main contemporary

consensus standard for how mental disorders are diagnosed and treated.” Ex. A at 116:10-

122:11. The fact that Dr. McHugh misrepresented or omitted such information central to

his opinions calls into question the reliability of his opinions.

       Lastly, Dr. McHugh has authored and advocated for an alternative to the DSM since

the 1980’s, but as he admits, his alternative is not widely accepted by the relevant scientific

and medical community. Id. at 108:9-110:14. And the fact that a known theory “has been

able to attract only minimal support within the community may properly be viewed with

skepticism.” Daubert, 509 U.S. at 594.

       F. Dr. McHugh’s opinions rely on his own unreliable and non-scientific
          publications.

       In his report, Dr. McHugh primarily relies on his own non-scientific, non-peer-

reviewed publications as support for his own opinions. See generally Ex. C. But such

publications lack any indicia of reliability. Really, they are all just opinion articles by Dr.

McHugh, not actual studies. Ex. B at 280:24-281:3.

       Take for example Dr. McHugh’s two publications in The New Atlantis. The New

Atlantis is neither a peer-reviewed nor a scientific publication, but rather “an ordinary

journal for the public.” Ex. B at 264:1-19. The same holds true for his other publications


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on this area. Id. at 276:19-277:19, 279:20-280:7, 280:15-23; Ex. A at 21:17-22:4. Indeed,

Dr. McHugh acknowledges these are all just articles of opinion, “as you might find in ‘The

Atlantic’ or in ‘The New Republic’ or in ‘The New Yorker.’” Ex. B at 266:3-5, 277:16-

19.

       As such, as a court that reviewed Dr. McHugh’s “Sexuality and Gender” article

noted, they do not carry “any … indicia of reliability.” Evancho v. Pine-Richland Sch.

Dist., 237 F.Supp.3d 267, 278 n.12 (W.D. Pa. 2017). To the contrary, Dr. McHugh’s

publications have been publicly denounced by hundreds of scientists and medical

professionals, which Dr. McHugh acknowledges are “part of the relevant scientific

community,” as not representing the “prevailing expert consensus opinion about sexual

orientation or gender identity related research or clinical care.” Ex. I; Ex. B. at 266:21-

267:22.

       Similarly, colleagues at Johns Hopkins have publicly denounced Dr. McHugh’s

publications as “mischaracteriz[ing] the current state of the science on sexuality and

gender.” Id. at 268:9-269:15; Ex. J. So did Dr. Dean Hamer, a renowned geneticist who

Dr. McHugh describes as a “distinguished person” and “certainly relevant” part of the

scientific community. Ex. B at 269:20-270:8. Indeed, Dr. Hamer has described the

opinions expressed by Dr. McHugh in his non-scientific opinion pieces as “pure

balderdash” that engage in “data cherry-picking” and “jump to [] conclusion[s], with no

supporting evidence or calculations whatsoever,” all for the “not-too-subtle implication …

that LGBT people are intrinsically defective, and that no amount of legal or societal



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acceptance will ever fix them.” Dean Hamer, New ‘Scientific’ Study on Sexuality, Gender

Is Neither New nor Scientific, The Advocate (Aug. 29, 2016, 2:21 PM),

https://bit.ly/3xlpT2x.

       In sum, Dr. McHugh’s opinions should be excluded because they mostly rely on his

own non-scientific opinion pieces that are themselves unreliable and have been

resoundingly denounced by scientific community as misleading, at best.

       G. Dr. McHugh’s extreme opinions are unreliable because they are tainted with
          bias and prejudice.

       Dr. McHugh’s opinions are unreliable because they are tainted by bias and

prejudice. Even Dr. McHugh’s own co-authors, like Dr. Lawrence Mayer, have described

his views regarding transgender people as “extreme” and “mean-spirited.” Ex. B at 274:4-

19. Dr. Mayer has described Dr. McHugh’s statements regarding LGBTQ people as “anti-

gay, anti-transgender.” Id.

       But one need not just rely on the views of Dr. McHugh’s colleagues. One need only

look at Dr. McHugh’s writings and testimony to see that it is permeated with bias and

prejudice. Take the following statements by Dr. McHugh:

       -   Stating that transgender people “are disordered” and “suffer from an overvalued

           idea,” Ex. B at 288:18-21, 297:5-6;

       -   Describing transgender women as “caricatures of women,” Ex. A at 143:3-14;

           Ex. B at 278:1:22;

       -   Referring to transgender people as “gender pretenders,” Ex. B at 274:4-19,

           276:1-14;


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       -   Asserting that transgender people “have a disorder of assumption,” Ex. A at

           129:10-12;

       -   Declaring that “conditioning children into believing that a lifetime of

           impersonating someone of the opposite sex achievable only from chemical and

           surgical interventions is a form of child abuse,” Ex. B. at 286:9-14; and

       -   Speaking of gender-affirming treatment as resulting in the “ghastliness of the

           mutilated body,” Ex. A at 149:15-16.

Such rhetoric on its own illustrates how Dr. McHugh’s opinions, which have been ossified

since the 1970’s, are so permeated by negative attitudes at best, and bias and prejudice at

worst, as to render them completely unreliable. They also illustrate how Dr. McHugh’s

opinions have “a greater potential to mislead than to enlighten” and thus “should be

excluded.” In re Lipitor, 892 F.3d at 632. Indeed, Dr. McHugh testified that he is “quite

flat-footed about this.” Ex. B at 287:17-18.

       And though Dr. McHugh’s opinions illustrate bias regardless of motivation, it is

also relevant that most of his publications on these issues are in religiously affiliated

publications. For example, The New Atlantis was published by the Ethics and Public Policy

Center, which represents itself as an “institute dedicated to applying the Judeo-Christian

moral tradition to critical issues of public policy,” which Dr. McHugh knew. Ex. B at

264:20-265:11. And Dr. McHugh’s article “Surgical Sex” was published in First Things,

a publication of the Institute on Religion and Public Life, id. at 276:19-277:9, and which

he began by making reference to the “Serenity Prayer.” Id. at 278:23-279:1.



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       It thus appears that Dr. McHugh’s opinions are colored by his own private moral

and religious beliefs, which is “critical information,” the Court should consider as it

“appropriately draw inferences about [Dr. McHugh’s] reliability.” State v. Heinz, 485 A.2d

1321, 1328 (Conn. App. 1984). To be clear, Dr. McHugh is entitled to hold his own private

views, and Plaintiffs do not seek to impugn or malign them. However, to the extent Dr.

McHugh’s personal views have influenced his purported expert opinions—indeed, they

appear to be a motivating factor—that is something the Court must be aware of and should

consider as it assesses the reliability of his testimony.

       Dr. McHugh’s opinions should be excluded based on his extreme and negative

rhetoric towards transgender people alone, which renders his opinions as unreliable.

                                       *       *      *

       In sum, Dr. McHugh’s opinions fail to meet the most basic indicia of reliability and

his opinions and testimony should be excluded as unreliable.

IV.    Dr. McHugh’s opinions lack probative value and are therefore inadmissible
       under Rule 403.

       Finally, the Court should exclude Dr. McHugh’s opinions because their introduction

will result in unfair prejudice, confusion of the issues, or in misleading testimony. Fed. R.

Evid. 403. Dr. McHugh offers no opinions relevant to the issues in this case, and, in any

event, the opinions he offers are unfounded, speculative, and unreliable. The testimony

would also result in prejudice, as the testimony seeks to sow confusion about the propriety

of gender-confirming care based on speculation, irrelevant, misleading, or biased opinions.




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                                    CONCLUSION

       For the foregoing reasons, the Court should exclude Dr. McHugh’s report, opinions,

and testimony in full.

       Dated this 2nd day of February, 2022.

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                          CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief is in compliance with Local Rule 7.3(d)(1)

because the body of this brief, including headings and footnotes, does not exceed 6,250

words as indicated by Microsoft Word, the program used to prepare this document.

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                             CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed electronically with the Clerk of Court

using the CM/ECF system which will send notification of such filing to all registered users.

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